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                             IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


SUBASH THAYYULLATHIL,                           )
                                                )
                Plaintiff,                      )
                                                )
        vs.                                     )     Case No.: 4:18-cv-692-RLW
                                                )
INFOSYS LIMITED,                                )
                                                )
                Defendant.                      )

                DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES

        COMES NOW Defendant Infosys Limited (“Defendant”), and for its Answer and

Affirmative Defenses, states as follows:

        1.      Plaintiff is a resident of St. Louis County, Missouri.

        ANSWER: Defendant is without sufficient information to admit or deny the allegations

contained in Paragraph 1 of Plaintiff’s Petition and therefore, denies the same.

      2.     Defendant is a foreign corporation doing business in St. Louis County,
Missouri and the claim arose in St. Louis County, Missouri.

        ANSWER: Defendant denies that a claim exists in this matter, as alleged in Paragraph 2

of Plaintiff’s Petition. Defendant admits the remaining allegations contained in Paragraph 2 of

Plaintiff’s Petition.

        3.      Venue is proper pursuant to R.S.Mo. § 508.010.4.

        ANSWER: Paragraph 3 of Plaintiff’s Petition calls for a legal conclusion and therefore,

no response is required.

       4.    Defendant is an employer within the meaning of the Missouri Human Rights
Act, R.S.Mo. § 213.010(7) in that Defendant employs six (6) or more persons in the State of
Missouri.
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        ANSWER: Paragraph 4 of Plaintiff’s Petition calls for a legal conclusion and therefore,

no response is required.

       5.     Plaintiff was hired by Defendant in April 2000 and worked as an onsite
project lead working closely with customer Project Manager and Customer Technical
Team until his termination August 31, 2017.

        ANSWER: Defendant admits that Plaintiff was hired in April 2000 and terminated on

August 31, 2017. Defendant denies the remaining allegations contained in Paragraph 5 of

Plaintiff’s Petition.

      6.     While working at an onsite customer location, I noticed that Defendant was
sending people from India under Business Visa “B1” to work in the United States for
completing project activities which should not be performed under Business Visa B1 but
work visa L1B or H1B.

        ANSWER: Defendant denies the allegations contained in Paragraph 6 of Plaintiff’s

Petition.

        7.    In September 2016, I discussed this matter with Defendant and subsequently
requested to get proper work visas for the persons needing to travel and work in the United
States and that Defendant initiate the processing of L1B visas which is a valid visa to
legally work in the United States.

        ANSWER: Defendant denies the allegations contained in Paragraph 7 of Plaintiff’s

Petition.

       8.     In February 2017, Defendant again failed to procure L1B or H1B work visa
on time and sent an employee to the United States on a B1 business visa.

        ANSWER: Defendant denies the allegations contained in Paragraph 8 of Plaintiff’s

Petition.

       9.     In February 2017, Plaintiff again discussed with Defendant the violation 18
U.S.C. § 1546 and potential consequences of having people travel and work on B1 rather
than the required L1B or H1B.

        ANSWER: Defendant denies the allegations contained in Paragraph 9 of Plaintiff’s

Petition.


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       10.    In February 2017, Defendant acknowledged the existence of an internal
process but failed to process the L1B on time.

        ANSWER: Defendant denies the allegations contained in Paragraph 10 of Plaintiff’s

Petition.

        11.   In February 2017, Plaintiff suggested to Defendant that time was still
available for Defendant to initiate a H1B visa for the person needing to travel to the United
States in 2017.

        ANSWER: Defendant admits that Plaintiff requested an invitation letter from Defendant

in February 2017 to be used in connection with an H-1B Petition for an individual. Defendant is

without sufficient information to admit or deny the remaining allegations contained in Paragraph

11 of Plaintiff’s Petition and therefore, denies the same.

      12.    Plaintiff followed up with the customer to get an invitation letter so that the
H1B visa can be initiated by Defendant but again, Defendant failed to process the H1B on
time.

        ANSWER: Defendant is without sufficient information to admit or deny the allegation

that Plaintiff “followed up with the customer” and therefore, denies the same. Defendant denies

the remaining allegations contained in Paragraph 12.

      13.    Upon learning that the H1B visa was not initiated, Plaintiff discussed with
Defendant the project was at risk because of fraud and/or misuse of visas.

        ANSWER: Defendant denies the allegations contained in Paragraph 13 of Plaintiff’s

Petition.

        14.     Defendant negatively reacted to Plaintiff identifying the fraud and/or misuse
of visas as a risk to the project and expressed Defendant’s desire to obtain greater profit on
the work performed.

        ANSWER: Defendant denies the allegations contained in Paragraph 14 of Plaintiff’s

Petition.

       15.   In April 2017, Plaintiff again raised concerns with Defendant on the fraud
and/or misuse of visas as a risk to the project.


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        ANSWER: Defendant denies the allegations contained in Paragraph 15 of Plaintiff’s

Petition.

       16.    In May 2017, while in the middle of a project and following Plaintiff’s recent
alarms regarding legal visas, Plaintiff was told by Defendant to relocate to India within two
(2) weeks for no given reason.

        ANSWER: Defendant admits that Plaintiff was originally told in May 2017 to relocate

to India within two weeks, and that Plaintiff was working on a project at the time he was told.

Defendant denies that Plaintiff was not given a reason for the decision to relocate him to India.

Defendant denies the remaining allegations contained in Paragraph 16 of Plaintiff’s Petition.

        17.    Plaintiff ceased working on the project at the customer site on May 26, 2017.

        ANSWER: Defendant is without sufficient information to admit or deny the allegations

contained in Paragraph 17 of Plaintiff’s Petition and therefore, denies the same.

       18.    Due to personal constraints, Plaintiff was unable to relocate India on such
short notice and took paid leave for a few weeks.

        ANSWER: Defendant admits the allegations contained in Paragraph 18 of Plaintiff’s

Petition.

        19.    Plaintiff learned of another instance of visa fraud/misuse after being forced
off the project in June 2017.

        ANSWER: Defendant denies the allegations contained in Paragraph 19 of Plaintiff’s

Petition.

       20.     Defendant’s edict that after six (6) years in the United States, Plaintiff and
his family must relocate to India, caused Plaintiff to suffer emotional distress requiring
Plaintiff to take four (4) weeks FMLA leave on the advice of his primary care physician in
July 2017.

        ANSWER:       Defendant admits that it informed Plaintiff to return to India and that

Plaintiff took four weeks of FMLA leave. Defendant is without sufficient information to admit




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or deny the remaining allegations contained in Paragraph 20 of Plaintiff’s Petition and therefore,

denies the same.

        21.    Plaintiff returned from FMLA leave in August 2017.

        ANSWER: Defendant admits the allegations contained in Paragraph 21 of Plaintiff’s

Petition.

      22.    Plaintiff filed a written complaint under Defendant’s whistleblower policy on
August 25, 2017, detailing the visa fraud/misuse.

        ANSWER:       Defendant admits that Plaintiff filed a written complaint pursuant to

Defendant’s whistleblower policy on August 25, 2017.             Defendant denies the remaining

allegations contained in Paragraph 22 of Plaintiff’s Petition.

        23.    That on August 31, 2017, Defendant terminated Plaintiff’s employment.

        ANSWER: Defendant admits the allegations contained in Paragraph 23 of Plaintiff’s

Petition.

        24.    That Plaintiff’s termination by Defendant was in retaliation for repeatedly
expressing concerns to Defendant about the visa fraud/misuse in violation of U.S. law in
violation of the Missouri Human Rights Act § 213.055, et seq.,

        ANSWER: Defendant denies the allegations contained in Paragraph 24 of Plaintiff’s

Petition.

       25.   That Plaintiff’s termination by Defendant was in retaliation for repeatedly
expressing concerns to Defendant about the visa fraud/misuse in violation of R.S.Mo. §
285.575.

        ANSWER: Defendant denies the allegations contained in Paragraph 25 of Plaintiff’s

Petition.

       26.    That on or about October 26, 2017, Plaintiff filed a charge of retaliation
discrimination against Defendant with the Equal Employment Opportunity Commission
(EEOC 560-2018-00171.




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        ANSWER: Defendant admits the allegations contained in Paragraph 26 of Plaintiff’s

Petition.

        27.     That on January 31, 2018, Plaintiff was notified by the EEOC that he may
institute a civil action against Defendant.

        ANSWER: Defendant admits the allegations contained in Paragraph 27 of Plaintiff’s

Petition.

        28.    That Plaintiff has exhausted his administrative remedies.

        ANSWER: Paragraph 28 of Plaintiff’s Petition calls for a legal conclusion and therefore,

no response is required.

       29.    That Defendant intentionally engaged in an unlawful employment practice,
in violation of the Missouri Human Rights Act, Chapter 213 et seq., as amended and
R.S.Mo. § 285.575.

        ANSWER: Defendant denies that it engaged in unlawful employment practices, and

therefore denies the allegations contained in Paragraph 29 of Plaintiff’s Petition.

       30.    As a direct and proximate result of Defendant’s conduct, Plaintiff has lost,
and will continue to lose, compensation and benefits of employment and has and will
continue to suffer emotional pain, humiliation, embarrassment, mental anguish and loss of
enjoyment of life, unless equitable relief is granted.

        ANSWER: Defendant denies the allegations contained in Paragraph 30 of Plaintiff’s

Petition.

       31.   Defendant’s actions were intentional, willful, wanton, malicious and/or
outrageous because of their evil motive and/or reckless indifference to the rights of Plaintiff
under the MHRA, entitling Plaintiff to punitive damages.

        ANSWER: Defendant denies the allegations contained in Paragraph 31 of Plaintiff’s

Petition.

       32.   As a result of Defendant’s unlawful employment practices, Plaintiff has
incurred and will continue to incur reasonable attorney’s fees and costs in connection with
this matter.



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        ANSWER: Defendant denies that it engaged in unlawful employment practices, and

therefore denies the allegations contained in Paragraph 32 of Plaintiff’s Petition.

        WHEREFORE having fully answered Plaintiff’s Petition, Defendant respectfully

requests that this Court dismiss Plaintiff’s Petition with prejudice, enter judgment in Defendant’s

favor, award Defendant its attorneys’ fees and costs, and such other and further relief as the

Court deems just and proper.

                   AFFIRMATIVE DEFENSES AND OTHER RESPONSES

        As separate and distinct affirmative defenses, Defendant alleges the following:

        1.      Defendant denies all allegations not specifically admitted herein.

        2.      Defendant denies that it engaged in any wrongful conduct and denies that Plaintiff

is entitled to any legal or equitable relief.

        3.      Defendant had legitimate business reasons for its decisions and would have made

the same decisions in the absence of Plaintiff’s alleged protected activities.

        4.      Plaintiff’s claims are barred, in whole or in part, because Defendant had

legitimate, non-discriminatory and/or non-retaliatory reasons for its decisions and made them in

the good faith exercise of reasonable business judgment.

        5.      Defendant states that any actions it took with respect to Plaintiff were for reasons

other than Plaintiff’s alleged protected activities.

        6.      Plaintiff did not suffer any alleged adverse employment action because of any

protected activity he allegedly engaged in.

        7.      Plaintiff is not a “protected person” as defined by MO. REV. STAT. § 285.575.2(4),

and thus, he has not stated a claim under the Whistleblower’s Protection Act.

        8.      Plaintiff’s claims are barred, in whole or in part, because he caused all or part of

his damages, if any, and/or failed to mitigate his damages. Defendant states that Plaintiff may
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have failed to engage in an adequate job search when comparable jobs were available in the

marketplace, and failed to obtain and maintain comparable employment to limit his alleged

damages.

        9.     Defendant has well-publicized and widely-disseminated policies regarding

retaliation and it enforces these policies, and the policies provide multiple avenues through

which employees may report such conduct. Accordingly, Defendant is insulated from any claim

based upon constructive knowledge of any allegedly retaliatory conduct.

        10.    Defendant denies any of its employees or agents, acting within the course and

scope of their employment or agency, violated any statute or caused damage or injury to

Plaintiff.

        11.    Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean hands,

waiver and/or estoppel.

        12.    Defendant acted in good faith to comply with all applicable laws and any alleged

retaliation or wrongdoing is contrary to Defendant’s good-faith efforts.

        13.    Even if Plaintiff could state a claim for relief in this action, Plaintiff cannot prove

actual or punitive damages.

        14.    Plaintiff’s request for punitive damages is specifically barred by the

Whistleblower’s Protection Act, and Plaintiff’s Petition fails to state facts sufficient to provide a

legal or factual basis to award liquidated damages to Plaintiff.

        15.    Plaintiff’s claims are barred, in whole or in part, because at all material times,

Defendant acted reasonably, in good faith without malice based upon all relevant facts and

circumstances known by Defendant at the time, and Defendant did not at any time willfully or

negligently fail to comply with applicable law.



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          16.   Defendant is entitled to all credits and offsets for whatever damages Plaintiff has

incurred, if any, for the amount of wages and benefits earned, and any other credits and offsets

permitted.

          17.   Defendant reserves the right to plead and/or assert any additional affirmative

defenses to Plaintiff’s claim(s) that become evident through the course of discovery.

          WHEREFORE, having fully answered Plaintiff’s Petition, Defendant respectfully

requests this Court dismiss Plaintiff’s Petition in its entirety, grant Defendant its attorneys’ fees

and costs herein expended, and for such other and further relief, as the Court deems just and

proper.



                                                     Respectfully submitted,



                                                     /s/ Harry W. Wellford, Jr.
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 8th day of May, 2018, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system to be served by operation of the Court’s electronic
filing system upon the following:

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                                                             /s/ Harry W. Wellford, Jr.




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